
In a certificated mortgage reorganization proceeding, order, modifying an official referee’s report and approving the trustee’s account, etc., modified by striking therefrom the provisions for an allowance of $2,500 for services for appellant’s attorneys, rendered in and in connection with a Federal court proceeding, and by inserting provisions providing for $5,000 therefor. As thus modified the order, insofar as appeal is taken, is affirmed, with $10 costs and disbursements to appellant, payable out of the trust estate. *796The proof shows the fair and reasonable value of the services to be $5,000, as found by the official referee. Lewis, P. J., Hagarty, Johnston and Adel, JJ., concur; Carswell, J., not voting.
